Case:23-00038-LTS
       Case 3:23-cv-01326
                   Doc#:1-12
                           Document
                               Filed:05/24/23
                                      2-12 Filed
                                               Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 1 of 21   Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 1 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                   Doc#:1-12
                           Document
                               Filed:05/24/23
                                      2-12 Filed
                                               Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 2 of 21   Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 2 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                   Doc#:1-12
                           Document
                               Filed:05/24/23
                                      2-12 Filed
                                               Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 3 of 21   Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 3 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                   Doc#:1-12
                           Document
                               Filed:05/24/23
                                      2-12 Filed
                                               Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 4 of 21   Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 4 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                   Doc#:1-12
                           Document
                               Filed:05/24/23
                                      2-12 Filed
                                               Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 5 of 21   Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 5 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                   Doc#:1-12
                           Document
                               Filed:05/24/23
                                      2-12 Filed
                                               Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 6 of 21   Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 6 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                   Doc#:1-12
                           Document
                               Filed:05/24/23
                                      2-12 Filed
                                               Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 7 of 21   Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 7 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                   Doc#:1-12
                           Document
                               Filed:05/24/23
                                      2-12 Filed
                                               Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 8 of 21   Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 8 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                   Doc#:1-12
                           Document
                               Filed:05/24/23
                                      2-12 Filed
                                               Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 9 of 21   Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 9 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 10 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 10 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 11 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 11 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 12 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 12 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 13 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 13 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 14 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 14 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 15 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 15 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 16 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 16 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 17 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 17 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 18 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 18 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 19 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 19 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 20 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 20 of 21
Case:23-00038-LTS
       Case 3:23-cv-01326
                    Doc#:1-12
                           Document
                                Filed:05/24/23
                                       2-12 Filed
                                                Entered:05/24/23
                                                  06/15/23 Page13:30:00
                                                                 21 of 21 Desc:
            Appendix Exhibit 10 to Complaint Dkt 1-10 Page 21 of 21
